Case 3:22-cv-00049-NKM-JCH Document 215 Filed 05/10/23 Page 1 of 2 Pageid#: 2579




                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION


      BABY DOE et al.,

                     Plaintiffs,

      v.

      MAST et al.,                                            Civil Action No. 3:22-cv-49

                     Defendants,
      and

      UNITED STATES SECRETARY OF STATE
      ANTONY BLINKEN et al.,

                  Nominal Defendants.


                FEDERAL DEFENDANTS’ MOTION TO SEAL EXHIBIT A

            Nominal Defendants the United States Secretary of State Antony Blinken and

     United States Secretary of Defense General Lloyd Austin (“Federal Defendants”)

     move the Court pursuant to Local Civil Rule 9 for leave to file Exhibit A to the

     Declaration of Frank M. Branch (“Branch Decl.”) under seal pending the Court’s ruling

     on Federal Defendants’ Motion to Seal Exhibit 6 to defendant Richard Masts’

     Memorandum in Opposition to Plaintiff’s Motion for Protective Order (filed concurrently

     herewith at ECF 214). In support thereof, Federal Defendants state as follows:

            The first page of Exhibit A to the Branch Declaration consists of the May 3,

     2023 memorandum issued by the U.S. Department of Defense United States Central

     Command (“USCENTCOM”) that is cited in the Branch Declaration. The remainder of

     Exhibit A consists of a version of RMast’s Exhibit 6 incorporating the redactions that
Case 3:22-cv-00049-NKM-JCH Document 215 Filed 05/10/23 Page 2 of 2 Pageid#: 2580




     USCENTCOM determined would be necessary in any publicly-released version of Exhibit

     6. The Court previously ordered Exhibit 6 to be “temporarily sealed pending filing of any

     motion to seal and until further Order of Court.” Oral Order of Mar. 22, 2023 [ECF 193].

     Thus, consistent with the Court’s Order, Federal Defendants omitted those pages from their

     public filing and request that Exhibit A be filed under seal as their proposed redacted

     version of Exhibit 6. This limited relief is narrowly tailored and comports with the

     requirements of Local Civil Rule 9(b).

     May 10, 2023                                 Respectfully submitted,

                                                  BRIAN M. BOYNTON
                                                  Principal Deputy Assistant Attorney General

                                                  ALEXANDER K. HAAS
                                                  Director, Federal Programs Branch

                                                  ANTHONY J. COPPOLINO
                                                  Deputy Director, Federal Programs Branch

                                                  /s/ Kathryn L. Wyer
                                                  KATHRYN L. WYER
                                                  Federal Programs Branch
                                                  U.S. Department of Justice, Civil Division
                                                  1100 L Street, N.W., Room 12014
                                                  Washington, DC 20005
                                                  Tel. (202) 616-8475
                                                  kathryn.wyer@usdoj.gov
                                                  Attorneys for Defendants




                                                 2
